Case: 3:23-cv-00156-MJN-PBS Doc #: 51 Filed: 09/01/23 Page: 1 of 1 PAGEID #: 434




                        UNITED STATES DISTRICTCOURT
                         SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISIONAT DAYTON




 DAYTONAREA CHAMBEROF
 COMMERCE,et al,

          Plaintiffs,
                                               CaseNo. 3:23-cv-156
 vs.
                                               District Judge Thomas M. Rose
 XAVIER BECERRA, et al.,

          Defendants.



                                       ORDER

          The Honorable Thomas M. Rose, of the United States District Court for the

Southern District of Ohio, Western Division, Dayton, hereby recuses himself from this

matter.


          The above captioned matter is hereby TRANSFERRED from the docket of the

Honorable Thomas M. Rose to the Clerk of the United States District Court for the

Southern District of Ohio at Dayton, for random reassignment.

          DONE and ORDERED in Dayton, Ohio, this 1st day f September 2023.




                                                 omas M. Ros
                                                                istrict Judge
